     Case 1:14-cr-00048-LJO-SKO Document 55 Filed 06/09/15 Page 1 of 2

                                                                             (SPACE BELOW FOR FILING STAMP ONLY)
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 4

 5
     ATTORNEYS FOR Defendant,
 6                     ERIK GESUS RIVERA

 7

 8                                  UNITED STATES DISTRICT COUNT
 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         Case No: 1:14-CR-00048–LJO SKO
11
                      Plaintiffs,
12                                                          STIPULATION AND ORDER
13             v.                                          MODIFYING DEFENDANT’S
                                                        CONDITIONS OF PRETRIAL RELEASE
14   ERIK GESUS RIVERA,

15                    Defendants.

16

17             It is hereby stipulated and agreed to by the parties hereto that Defendant, ERIK
18   RIVERA’s conditions of release be modified to release him from electronic GPS monitoring.
19
               Mr. Rivera was placed on electronic GPS monitoring on March 25, 2014. Since that time
20
     he has been in continued contact with his pretrial services officer, and has done everything asked
21
     of him.
22
               Counsel for Defendant has corresponded with both Assistant U.S. Attorney, Brian
23
     Delaney, and Erik’s Pretrial Services officer, Frank Guerrero, both of whom have no objection to
24
     the requested modification.
25

26   ///

27   ///

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                                                   1
     Case 1:14-cr-00048-LJO-SKO Document 55 Filed 06/09/15 Page 2 of 2


 1   Dated: June 5, 2015.                         Respectfully submitted,

 2                                               NUTTALL & COLEMAN

 3                                               /s/ Mark W. Coleman
 4                                               MARK W. COLEMAN
                                                 Attorney for Defendant
 5
                                                 ERIK RIVERA
 6
     Dated: June 5, 2015.                        UNITED STATES ATTORNEY’S OFFICE
 7

 8                                               /s/ Brian Delaney

 9                                               BRIAN DELANEY
                                                 Assistant United States Attorney
10

11

12                                             ORDER
13          IT IS HEREBY ORDERED that Defendant, Erik Rivera, is released from electronic
14   GPS monitoring. All other previously imposed conditions of release, not in conflict with this
15   order, remain in full force and effect.
16

17

18   IT IS SO ORDERED.
19
        Dated:     June 8, 2015                                 /s/ Sheila K. Oberto
20                                                       UNITED STATES MAGISTRATE JUDGE

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